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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 SECURITIES AND EXCHANGE
 COMMISSION,

                       Plaintiff,
        v.
                                                         No. 1:25-cv-00616 (LCJ)
 ARETE WEALTH MANAGEMENT, LLC,
 ARETE WEALTH ADVISORS, LLC,
 JOEY DALE MILLER, JEFFREY SCOTT
 LARSON, RANDALL SCOTT
 LARSON, and UNBO CHUNG,

                       Defendants.


                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that on April 7, 2025, Defendant UnBo (Bob) Chung filed his

Motion to Dismiss Plaintiff’s Complaint and Memorandum of Law in Support of his Motion to

Dismiss Plaintiff’s Complaint in the above-captioned case pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure.


Dated: April 7, 2025

                                                 Respectfully submitted,


                                                 David S. Slovick
                                                 Charlotte H. Underwood (pro hac vice)
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                                                 Attorneys for Defendant UnBo (Bob) Chung
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                                   CERTIFICATE OF SERVICE

        I certify that on this 7th day of April, 2025, I caused the foregoing to be filed with the Clerk

of the Court using the CM/ECF system, which will automatically send e-mail notification of such

filing to all counsel of record.




                                                        David S. Slovick
